         Case 2:17-cr-14047-DMM Document 39 Entered on FLSD Docket 12/07/2017 Page 1 of 1
 AO l87(Rev.7/87)ExhibitandW itncssList


                                         U NITED STATES D ISTRICT C OURT
                                                SOUTHERN              DISTRICT OF                FLORIDA



            UN ITED STATES OF AM ERICA                                                           EX H IBIT AN D W ITN ESS LIST
                         V.
               SCOTT JO SEPH TRADER                                                                 CaseNumber: l7-l4047-CR-DM M
 PRESIDING JDDGE                                          PLAINTIFF'SATTORNEY                              DEFENDANT'S ATTORNEY
           Donald M .M iddlebrooks                                       M arton Gyires                              FletcherPeacock
 TRIALDATE(S)                                             COURTREPORTER                                    COURTROOM DEPUTY
               12/07/2017 Sentencing                                      DianeM iller                              Genevieve M cGee
  PLF. DEF.         DATE        M
  NO.  NO.         OFFERED          ARKED   ADMITTED                                   DESCRIPTION OF EXHIBITS*AND W ITNESSES

                  l2/7/2017          X           X       CD ofvisualdepictionsand videos

   2              12/7/20l7          X           X       Extraction Reportsoftextmessages

           1      12/7/2017          X           X       Sealed PsychologicalEvaluationofDefendantby Dr. Brannon




#lncludeanotationastotheIocationofanycxhibitnotheldwiththeçasefileornotavailablebeçauseofsize.
                                                                                                                 Page 1of       l   Pages
